Case 4:22-cr-00115-JFH Document 122 Filed in USDC ND/OK on 12/28/22 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                   Case No. 22-CR-115-JFH

RICHARD DALE DEETER, JR.,
DONALD B. PEARSON,
JONNA ELISA STEELE,
JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”
IZABELLA MARIE BOLING, a/k/a
“Turbo,”
NICOLE COX,
a/k/a “Nicole Michelle Jenner,”
a/k/a “Nicole Michelle Cox,”
a/k/a “Nicole Patterson,”

                    Defendants.

                   Government’s Response to Defendant Deeter’s
                     Motion for a Petersen Hearing (Doc. 117)

     A statement by a co-conspirator of a party during the course and in furtherance of

the conspiracy is not hearsay, pursuant to Fed. R. Evid. 801(d)(2)(E) and is

admissible at trial. Prior to admitting such testimony, a court must determine that:

(1) a conspiracy existed by a preponderance of the evidence; (2) the declarant and

defendant were both members of the conspiracy; and (3) the statements were made

in the course of and in furtherance of the conspiracy. United States v. Owens, 70 F.3d

1118, 1123 (10th Cir. 1995). A court may make these factual determinations by
Case 4:22-cr-00115-JFH Document 122 Filed in USDC ND/OK on 12/28/22 Page 2 of 5




either holding a James hearing1, see generally United States v. James, 590 F.2d 575 (5th

Cir. 1979), or provisionally admitting the evidence subject to a party “connecting it

up” through later trial testimony or other evidence.

      Although a James hearing is the preferred method of the two, the Tenth Circuit

has held that this is a preference only, and the district court retains discretion to hold

a pretrial hearing or permit the government to “connect up” the statements to a

conspiracy at trial. United States v. Urena, 27 F.3d 1487, 1491 (10th Cir. 1994). In

United States v. McMurray, the Tenth Circuit held that “Peterson does not require a trial

judge to hold a preliminary hearing on the admissibility of a co-conspirator’s

statements.” 818 F.2d 24, 26 (10th Cir.), cert. denied, 484 U.S. 837 (1987). This is

because a “trial court has no obligation to determine the admissibility of possible

hearsay at the pretrial stage” Id. In either case, the court may consider the statements

themselves in determining the establishment of a conspiracy by a preponderance of

the evidence. United States v. Gonzalez-Montoya, 161 F.3d 643, 6449 (10th Cir. 1998).

      There is nothing presented by Deeter that would require a James hearing, whereby

the court would require the proof of a conspiracy outside the presence of a jury.

Requiring the government to lay the proper foundation before admitting the

statements, or by connecting them up at a later time, are recognized as appropriate in

some instances. This is one of those instances.




1
    Also referred to as a Petersen hearing.
                                              2
Case 4:22-cr-00115-JFH Document 122 Filed in USDC ND/OK on 12/28/22 Page 3 of 5




   The government urges Deeter’s motion to be denied. Evidence of the acts and

statements of co-conspirators may be admitted prior to demonstrating participation

in the conspiratorial scheme by the objecting defendant, providing the foundation is

subsequently laid. United States v. Andrews, 585 F.2d 961, 966 (10th Cir. 1978); United

States v. Krohn, 573 F.2d 1382 (10th Cir.), cert. denied, 436 U.S. 946 (1978); Beckwith v.

United States, 367 F.2d 458 (10th Cir. 1966). Once a conspiracy is established, only

slight evidence is required to connect the co-conspirator. Andrews, 585 F.2d at 966;

United States v. Turner, 528 F.2d 143 (9th Cir.), cert. denied, 423 U.S. 996 (1975).

   A separate hearing on the admissibility of co-conspirators’ statements would

amount to a time-consuming mini trial outside the presence of the jury. The

government would be forced to present most of its case-in-chief in order to show the

participation of the defendants and the various declarants in an ongoing conspiracy –

a presentation that will need to be rehashed before the jury shortly thereafter.

Furthermore, such a premature presentation of the government’s case will unduly

prejudice the government by giving defendants an unjustified preview of its case.




                                            3
Case 4:22-cr-00115-JFH Document 122 Filed in USDC ND/OK on 12/28/22 Page 4 of 5




                                    Conclusion

   Based on the foregoing, the Motion for a Petersen hearing should be denied.



                                       Respectfully submitted,

                                       CLINTON J. JOHNSON
                                       United States Attorney


                                        /s/ David A. Nasar
                                       David A. Nasar, NY Reg. # 4222568
                                       Assistant United States Attorney
                                       110 West 7th Street, Suite 300
                                       Tulsa, Oklahoma 74119
                                       (918) 382-2700




                                         4
Case 4:22-cr-00115-JFH Document 122 Filed in USDC ND/OK on 12/28/22 Page 5 of 5




                             CERTIFICATE OF SERVICE

    I hereby certify that on this 28th day of December, 2022, I electronically
transmitted the foregoing document to the Clerk of the Court using the ECF System
for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants:

Randy Lynn
Attorney for Richard Dale Deeter, Jr.

Clint James
Attorney for Donald B. Pearson

Richard White
Attorney for Jonna Elise Steele

Jeffrey Williams
Attorney for Johnny Wesley Boyd Sparks

Scott Troy
Attorney for Izabella Marie Boling

Michael Noland
Attorney for Nicole Cox




                                         5
